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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                        IN THE UNITED STATES DISTRICT COURT                      July 21, 2020
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION
                                                                              David J. Bradley, Clerk




SEAN WHITE,                                       §
                                                  §
                        Plaintiff,                §
                                                  §
v.                                                §     CIVIL ACTION NO. H-20-0951
                                                  §
ALKITSA INVESTMENT LIMITED,                       §
INC.                                              §
                                                  §
                        Defendant.                §


                                 MEMORANDUM OPINION AND ORDER


        Plaintiff           Sean    White     ("Plaintiff")   asserts   a   claim       for

declaratory and injunctive relief for violations of the Americans

with Disabilities Act ("ADA") against Alkitsa Investment Limited,

Inc.        ("Defendant") . 1           Pending before the court is Defendant's

Rule 12(b)(1) and/or 12(c) Motion to Dismiss, Motion for Judgment

on the Pleadings             &   Motion for Fees ("Motion to Dismiss") (Docket

Entry No. 13).          For the reasons stated below, the Motion to Dismiss

will be granted in part and denied in part.


                       I.     Factual and Procedural Background

        Defendant owns commercial property located at 5727 Westheimer

Road A-1,         Houston,         Texas 77057 ("the      Property") . 2    Plaintiff



      First Amended Complaint ("Amended Complaint"), Docket Entry
        1

No. 8, p. 1 11. All page numbers for docket entries in the record
refer to the pagination inserted at the top of the page by the
court's electronic filing system, CM/ECF.
        2
            Id. at 3   1    9, 6    1   11.
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alleges      that    he     visited    the     Property       in    January   of   2020. 3

Plaintiff suffers from mobility impairments and alleges that his
access to the property was inhibited by the property's failure to
meet ADA requirements. 4            Specifically, Plaintiff alleges that the
property      lacked       van    accessible       disabled    parking    because     the
disabled parking spaces did not have a wide enough access aisle and
the ramp from the aisle to the sidewalk extended into the access
aisle. 5     Plaintiff incorporated photographs of the property in his
Amended Complaint that show the complained-of ramp but in which the
exact widths         of     the    aisle   and     spaces     are   not   discernable. 6
Plaintiff filed this action on March 15, 2020, seeking injunctive
and declaratory relief against Defendant under the ADA. 7                             The
specific injunction sought is "to compel Defendant to repave and
restripe the parking lot to complly with the ADA .                             [and] to
keep the property in compliance with federal law." 8
      On May 18, 2020, Defendant answered and filed its Motion to
Dismiss. 9     Defendant included in its filings Google Street View


      3
          Id. at 6   1    11.
      4
          Id. at 1-2     11 1-2.



      7
          Complaint, Docket Entry No. 1.
      8
          Amended Complaint, Docket Entry No. 8, p. 9                 1 21.
      Motion to Dismiss, Docket Entry No. 13; Defendant's Answer to
      9

Plaintiff's First Amended Complaint, Docket Entry No. 14.
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photographs time-stamped January of 2020 that show that the parking

lot has been repaved and restriped and that the ramp no longer
extends into the access aisle.10            Defendant also included Google
Street View photographs time-stamped December of 2018 that are
functionally identical to those incorporated in Plaintiff's Amended

Complaint.11
     Defendant seeks dismissal of the action because it has already
corrected the ADA deficiencies identified by Plaintiff's Amended
Complaint. 12    Defendant also seeks sanctions against Plaintiff's
counsel under 18 U.S.C. § 1927 for "unreasonable and vexatious
behavior." 13    Plaintiff responded on June 4, 2020, 14 and Defendant
replied on June 11, 2020. 15        On July 16, 2020, Defendant filed a
Notice of Submission of Supplemental Declaration in Support of
Motion for Sanctions           ("Defendant's Supplement")    [Docket Entry

No. 24] updating the amount of sanctions it seeks.               On July 17,

2020, Plaintiff filed a Motion to Strike Dkt 24 for Being Filed Out
of Time, Sanctions Not Available Under FRCP 11 ("Motion to Strike")
[Docket Entry No. 25].

     10
          Motion to Dismiss, Docket Entry No. 13, p. 9       &   n.7.
     urd. at 10     &   n.8.
     12
          Id. at 13-15.
     13
          Id. at 15-16.
      Response in Opposition to Defendant's Motion to Dismiss
     14

("Plaintiff's Response"), Docket Entry No. 16.
      Defendant's Reply in Support of Its Motion to Dismiss, Motion
     15

for Judgment on the Pleadings & Motion for Fees, Docket Entry
No. 17.
                                      -3-
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                 II.   12(b) (1) Subject Matter Jurisdiction

      Defendant        argues   that     the   court   lacks    subject    matter
jurisdiction over this action because Plaintiff does not have
standing to seek the declaratory and injunctive relief he seeks. 16
The court must decide whether it has subject matter jurisdiction
over the action before it may consider Defendant's other Rule 12
motions.       See Morris v. Livingston, 739 F.3d 740, 745 (5th Cir.

2014).

A.    Standard of Review

      Federal Rule of Civil Procedure 12(b)(1) governs challenges to
the court's subject matter jurisdiction.                "' A case is properly
dismissed for lack of subject matter jurisdiction when the court
lacks the statutory or constitutional power to adjudicate the
case.'"      Home Builders Association of Mississippi, Inc. v. City of
Madison, Mississippi, 143 F.3d 1006, 1010 (5th Cir. 1998).                "Courts
may dismiss for lack of subject matter jurisdiction on any one of
three different bases:          (1) the complaint alone; (2) the complaint
supplemented by undisputed facts in the                 record;    or (3) the
complaint      supplemented      by    undisputed   facts   plus   the    court's
resolution of disputed facts."           Clark v. Tarrant County, Texas, 798
F.2d 736, 741 (5th Cir. 1986).
      Rule 12(b)(1) challenges to subject matter jurisdiction come
in two forms:           "facial"      attacks and   "factual"   attacks.

      16
           Motion to Dismiss, Docket Entry No. 13, pp. 14-15.
                                         -4-
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Paterson v. Weinberger,       644 F.2d 521, 523      (5th Cir. 1981).      A

facial attack is a Rule 12 (b) (1) motion unaccompanied by supporting
evidence that challenges the court's jurisdiction based solely on
the pleadings.     Id. A factual attack challenges the factual basis
for subject matter jurisdiction, and matters outside the pleadings

may be considered.     Id.   Plaintiff, as the party asserting federal
jurisdiction, bears the burden of showing that the jurisdictional
requirements have been met.        Alabama-Coushatta Tribe of Texas v.
United States, 757 F.3d 484, 487 (5th Cir. 2014).
     "No principle is more fundamental to the judiciary's proper
role in our system of government than the constitutional limitation
of federal-court jurisdiction to actual cases or controversies."
Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (internal
quotations omitted).         One element of the case-or-controversy
requirement is that a plaintiff must establish, on the basis of the
complaint, standing to sue.        Raines v. Byrd, 117 S. Ct. 2312, 2317
(1997) (citing Lujan v. Defenders of Wildlife, 112 S. Ct. 2130,
2136-37     (1992)).   To have standing      "[a]    plaintiff must have
(1) suffered an injury in fact, (2) that is fairly traceable to the
challenged conduct of the defendant, and (3) that is likely to be
redressed by a favorable judicial decision."         Spokeo, 136 S. Ct. at

1547 (citing Lujan, 112 S. Ct. at 2136).             " [A]   plaintiff must
demonstrate standing for each claim he seeks to press" and have
"standing     separately     for    each   form     of   relief    sought."
DaimlerChrysler Corp. v. Cuno,          126 S. Ct. 1854,       1867   (2006)

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(citation omitted).      The precise requirements for standing depends

on "the nature and source of the claim asserted."          Warth v. Seldin,
95 s. Ct. 2197, 2206 (1975)).        "[I]f the plaintiff seeks equitable
relief, he must also show that 'there is a real and immediate
threat of repeated injury.'"        Deutsch v. Annis Enterprises. Inc.,
882 F.3d 169, 173 (5th Cir. 2018) (quoting City of Los Angeles v.
Lyons, 103 s. Ct. 1660, 1665 (1983)).

B.    Analysis

      Defendant argues that Plaintiff has not demonstrated the
necessary      "real and immediate threat of         repeated    injury"     to
establish standing for the injunctive and declaratory relief he
seeks because the ADA violations he points to have been remedied. 17
Plaintiff argues that even if the property has been remediated he
may seek a permanent injunction, and that Defendant has provided
"no proof" that the property has been remediated. 18
      Plaintiff's argument that he may seek a permanent injunction
regardless of any remediation lacks merit. ADA plaintiffs who seek
a permanent injunction in federal court must demonstrate "a real
and immediate threat of repeated injury."            Deutsch, 882 F.3d at
173. This typically requires a showing of ADA violations that will
negatively affect the Plaintiff's day-to-day life.             Id.; Frame v.
City of Arlington, 657 F.3d 215,           236   (5th Cir. 2011).       "Past


      17
           Motion to Dismiss, Docket Entry No. 13, pp. 14-15.
      18
           Plaintiff's Response, Docket Entry No. 16, p. 8.
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exposure to illegal conduct does not in itself show a present case

or controversy regarding injunctive relief .                   . if unaccompanied
by any continuing, present adverse effects."               O'Shea v. Littleton,
94 S.       Ct. 669,   676 (1974).         And "the mootness exception for
disputes capable of repetition yet evading review                              . will not
revive a dispute which became moot before the action commenced."
Renne v. Geary, 111 S. Ct. 2331, 2338 (1991)                        Accordingly, if
Defendant has already remediated the Property and Plaintiff cannot
show that his day-to-day activities will be affected by the
Property in its present state, the court must dismiss the action
for lack of a case or controversy.
        The court must therefore resolve the disputed fact issue of
whether the parking lot has been remediated. Because Defendant has
cited       evidence     outside    the     pleadings     in    support          of     its
Rule 12(b) (1) Motion to Dismiss (specifically, the Google Street
View photographs), the motion is a factual attack, and the court's
review is not limited to whether the Amended Complaint sufficiently
alleges      jurisdiction.         Paterson,     644    F.2d   at       523.       It    is
Plaintiff's burden to provide evidence to the court to show by a
preponderance of the evidence that the court has subject matter
jurisdiction.      Id.
      The Amended Complaint alleges that the Property is not ADA
compliant      because    it   lacks      two   ADA-compliant       van        accessible
spaces. 19     Plaintiff alleges that the two disabled parking spaces


      19
           Amended Complaint, Docket Entry No. 8, p. 7              1   14.
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near the entrance of the Property are not ADA compliant because the
access aisle is not wide enough and because the ramp onto the
sidewalk extends into the access aisle, and that the incorporated
photographs       show   these   violations. 20    But   the     only    evidence
submitted by the parties as to remediation are the various Google
Street View photographs.           The court finds that the photographs
incorporated in the Amended Complaint are Google Street View
photographs dated December of 2018,               over two years prior to
Plaintiff's alleged visit to the Property in January of 2020.                 The
court further finds that the only apparent defect that appears in
the December of 2018 photographs             the access ramp that extends
into the disabled access aisle - has plainly been remediated based
on the January 2020 photographs.
     The other specific defect Plaintiff alleges - that the spaces
and access aisle are not wide enough - cannot be readily discerned
in either the December of 2018 or January of 2020 photographs.
Plaintiff has provided no evidence to support his claim that the
spaces and aisle are not wide enough or that the parking on the
Property otherwise presently violates ADA requirements.                 Moreover,
Plaintiff       has   provided   no   evidence    to   support    the     Amended
Complaint's assertion that he intends to return to the Property.
Because there is insufficient evidence to support that the alleged
violations have not been remediated and will negatively affect his


     20
          Id.   at 7 � 15.
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day-to-day life,          Plaintiff has not met his burden to show a
likelihood of future injury necessary to obtain equitable relief.
See Deutsch, 882 F.3d at 174. Since Plaintiff seeks only equitable
relief (and attorney's fees) under the ADA, the court will dismiss
the    action      without   prejudice       for   lack    of   subject     matter

jurisdiction.       Because the court lacks subject matter jurisdiction,
it will not consider Defendant's Rule 12(c) Motion for Judgment on
the Pleadings.


                   III.   28 u.s.c. § 1927 Attorney's Fees

       Defendant seeks attorney's fees from Plaintiff's counsel under
28 U.S.C. § 1927, which permits the court to award costs, expenses,
and attorney's fees incurred as the result of the unreasonable and
vexatious        multiplication   of     proceedings       in   federal     court.
Defendant argues that Plaintiff's counsel's conduct in this action
is unreasonable and vexatious because he filed the action despite
knowledge of the January 2020 photographs demonstrating that the
Property had been remediated.21          The court retains jurisdiction to
impose sanctions to enforce its rules,                  even in the absence of
subject matter jurisdiction.             Fleming    &    Associates v. Newby     &

Tittle, 529 F.3d 631, 637 (5th Cir. 2008).
       To find an attorney multiplied proceedings "unreasonably" and
"vexatiously"       there must    "be evidence of bad faith,              improper


       21
            Motion to Dismiss, Docket Entry No. 13, p. 16.
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motive,      or reckless disregard of the duty owed to the court."

Edwards v. General Motors Corp., 153 F.3d 242, 246 (5th Cir. 1998);

see also Payne v. University of Southern Mississippi, 681 F. App'x

384, 388 (5th Cir. 2017) and Proctor & Gamble Co. v. Amway Corp.,

280 F.3d 519, 525 (5th Cir. 2002).           The Fifth Circuit construes

Section 1927 strictly and applies sanctions sparingly.                  Lawyers

Title Insurance Corp. v. Doubletree Partners, L.P., 739 F.3d 848,

871-72     (5th Cir. 2014); Meadowbriar Home for Children,             Inc. v.

Gunn, 81 F.3d 521, 535 (5th Cir. 1996); Baulch v. Johns, 70 F.3d

813,   817    (5th Cir. 1995).     Section 1927 applies only to costs

associated      with   "'the   persistent   prosecution   of    a     meritless

claim.'"      See, e.g., Walker v. City of Bogalusa, 168 F.3d 237, 240

(5th Cir. 1999); Pease v. Pakhoed Corp., 980 F.2d 995, 1001 (5th

Cir. 1993); Browning v. Kramer,        931 F.2d 340,      345-46      (5th Cir.

1991);    Ponder v. Wersant,      Civil Action No. 17-CV-00537,            2017

WL 3923544 (S.D. Tex Sept. 5, 2017). Except when the entire course

of proceedings were unwarranted and should not have been commenced

or continued, an award under § 1927 may not shift the financial

burden of defending an action.              Browning,   931    F.2d    at 345.

Sanctions will not be imposed for the mere negligence of an

attorney.       Baulch,   70 F.3d at 817;      Hahn v. City of Kenner,

1 F. Supp. 2d 614, 617-18 (E.D. La. 1998).

       Section 1927 prohibits the persistent prosecution of meritless

claims.      Thomas v. Capital Security Services, Inc., 836 F.2d 866,


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875 (5th Cir. 1988).        In assessing whether maintenance of claims

was unreasonable, it is not enough that Plaintiff's claims failed.

Defendant must show with more than merely the benefit of hindsight

that Plaintiff's counsel persisted in asserting claims after it

became clear that the claims lacked merit.                   Federal Deposit

Insurance Corp. v. Calhoun, 34 F.3d 1291, 1298,               1300 (5th Cir.

1994).

        The court is not persuaded that           §   1927 sanctions against

Plaintiff's    counsel      are   warranted.      That   Defendant   provided

Plaintiff's counsel with the January 2020 photographs and informed

him that the deficiencies had been remedied is not sufficient to

prove that Plaintiff's counsel filed the action with knowledge of

or recklessness as to whether it was frivolous and lacked merit.

Plaintiff's counsel may have had knowledge that the parking lot had

been repaved and restriped, but this does not necessarily mean that

Plaintiff's counsel must have known the claim could not succeed or

that the parking lot now fully complies with ADA guidelines. While

Plaintiff's counsel has failed to present the evidence required to

establish the court's subject matter jurisdiction over Plaintiff's

claim, this does not mean that counsel knew in advance that he

would    be   unable   to    establish      the   court's   jurisdiction      or

demonstrate an ongoing injury to his client.                Accordingly,     the

court will deny Defendant's motion for attorney's fees under

§   1927.     Because the court will not award fees,             Defendant's


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Supplement    as   to      the    amount   of   fees   is   not    relevant,   and

Plaintiff's Motion to Strike is moot.


                           IV.    Conclusion and Order

     For the reasons explained above, the court concludes that it

lacks subject matter jurisdiction over Plaintiff's ADA claims and

that Defendant has           not demonstrated that          it    is   entitled to

attorney's     fees       under    §   1927.       Accordingly,        Defendant's

Rule 12(b) (1) and/or 12(c) Motion to Dismiss, Motion for Judgment

on the Pleadings      &   Motion for Fees (Docket Entry No. 13) is GRANTED

as to the 12(b) (1) Motion to Dismiss and is DENIED as to the Motion

for Fees.    Plaintiff's Motion to Strike Dkt 24 for Being Filed Out

of Time,     Sanctions Not Available Under             FRCP 11 (Docket Entry

No. 25) is DENIED as moot.

     SIGNED at Houston, Texas, on this the 21st day of July, 2020.




                                                        SIM LAKE
                                           SENIOR UNITED STATES DISTRICT JUDGE




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